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 5
 6 Attorney§ for Defendants CITY OF LOS ANGELES, CHRISTOPHER WALKER,
   and EDUARDO RIOS
 7
 8                                 UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11    ZHOIE PEREZ,                                     CASE NO. CV22-08227-SVW(ASx)
                                                       Hon. Stephen V. Wilson, Ctrm 1OA, 1(jh Fl.
12                                                     Mag. Alka Sagar, Ctrm 540, 5 th Fl.
                      Plaintiff,
13
            V.                                         DEFENDANTS CITY OF LOS
14                                                     ANGELES, CHRISTOPHER
                                                       WALKER AND EDUARDO RIOS'
15                                                     CERTIFICATE OF INTERESTED
      CITY OF LOS ANGELEShOFFICER                      PARTIES
16    RIOS,._ OFFICER WALKEK, CLAUDE
      JABS1, JOHN DOE
17
18                    Defendants.
19
20
21
22          The undersigned, counsel of record for Defendants CITY OF LOS ANGELES,
23 CHRISTOPHER WALKER, and EDUARDO RIOS certifies the following listed
24 parties have a direct, pecuniary interest in the outcome of the case:
25               1.      ZHOIE PEREZ, Plaintiff
26               2.      CITY OF LOS ANGELES, Defendant
27               3.      OFFICER RIOS, Defendant
28               4.      OFFICER WALKER, Defendant


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 1             5.    Claude Jabsi, Defendant
 2             These representations are made to enable the court to evaluate disqualification
 3 or recusal.
 4
 5
 6 Dated: December 5, 2022 MICHAEL N. FEUER, City Attorney
                           SCOTT MARCUS Chief Assistant City Attorney
 7                         CORY M. BRENTE, Senior Assistant City Attorney
 8                              By:          Ewuh: S. Cohew
 9                                    EMILY S. COHEN Deg_uty City Attorn~
                                Attomm for Defendants CITY OF LOS ANGELES~
10                              CHRISTOPHER WALKER, and EDUARDO RIO~

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 1
                                       PROOF OF SERVICE
 2
               I, Ingrid Farino, declare as follows:
 3
              At the time of service I was over 18 years of c!ge and not a party to this action.
 4 My business address is 200 N. Main Street 6th Floor, City Hall East, Los Angeles,
   California 90012, which is in the County, City and State where this mailing occurred.
 5
            On December 5, 2022, I served the document(s) described as: DEFENDANTS
 6 CITY OF LOS ANGELES CHRISTOPHER WALKER, AND EDUARDO
   RIOS' CERTIFICATE OF INTERESTED PARTIES on all interested parties in
 7 this action:
 8
       Zhoie Perez
 9     14926 Templar Drive
       La Mirada, CA 90638
10     Tel: 657-239-6005
       PLAINTIFF IN PRO SE
11
12     I served a true copy of the document(s) above by:
13         [X] U.S. MAIL. By placing a true copy thereof enclosed in a sealed envelope(s)
   addressed as above and placing each for collection and mailing on that date following
14 ordinary business practices. I am "readily familiar" with this business's 2ractice for
   collecting and processing corre~pondence for mailing. On the same day that
15 correspondence is placed for collection and mailing, 1t is deposited in the ordinary course
   ofbusmess with the U.S. Postal Service in Los Angeles, California, in a sealed envelope
16 with postage fully prepaid.
17           [X] I hereby certify that I am employed in the office of a member of the Bar of
      this Court at whose direction the service was made.
18
           [X] I hereby certify under the penalty of perjury that the for
19 correct.
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